                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

In Re:                                        §
                                              §            Case No. 18-10554-hcm
MAUREEN L. ADAIR,                             §
                                              §            Chapter 7
         Debtor.                              §

APPLICATION FOR RETENTION OF GRAVES DOUGHERTY HEARON & MOODY,
      PC AS COUNSEL FOR THE ESTATE PURSUANT TO 11 U.S.C. §327(a)

This pleading requests relief that may be adverse to your interests.

If no timely response is filed within 21 days from the date of service, the relief requested
herein may be granted without a hearing being held.

A timely filed response is necessary for a hearing to be held.

         COMES NOW Ron Satija, Trustee (“Trustee”), the duly appointed and acting trustee in

the above-captioned bankruptcy case, and hereby files his Application For Retention of

Attorneys Pursuant to 11 U.S.C. §327(a), and would show the Court as follows:

         1.    The applicant is Ron Satija, Chapter 7 Trustee in this case which was filed on

April 30, 2018 under Chapter 11 of the United States Bankruptcy Code and converted to Chapter

7 on February 20, 2019.

         2.    In this proceeding, there are legal matters requiring the services of an attorney,

including but not necessarily limited to, representing and advising the Trustee in performing his

due diligence with respect to liquidating the estate.

         3.    The Trustee seeks to employ Graves Dougherty Hearon & Moody PC

(“GDHM”), as his attorneys with regards to matters related to the bankruptcy estate. It is in the

best interest of the estate that GDHM, be employed to represent the Trustee as counsel. Brian T.

Cumings is a Licensed Attorney in good standing with the State Bar of Texas.             He has




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experience in investigating and pursing claims similar to those at issue in this case. The Trustee

believes that it is in the best interest of the estate to employ GDHM to represent the Trustee

generally.

           4.   GDHM has no interest adverse to the estate. Attached hereto as Exhibits “A”

and “B”, respectively, are the Disclosure of Compensation under 11 U.S.C. §329 and

Bankruptcy Rule 2016(b) and the affidavit of Brian T. Cumings, that GDHM has no interest

adverse to this estate.

           5.   The attorneys of GDHM will charge their normal hourly rates. The attorney who

will be primarily responsible is Brian T. Cumings, whose current hourly rate is $325.00, and

which may be adjusted upward at the beginning of each calendar year.                   Paralegals,

Administrative Staff, and other attorneys will charge $20.00-$175.00. The attorneys will also be

entitled to reimbursement of reasonable expenses, attached hereto as Exhibit “C” is the fee

agreement of Brian T. Cumings. No compensation will be paid until a fee application has been

filed and approved by the court, pursuant to 11 U.S.C. §330 and the requirements of any other

applicable law.

           6.   GDHM maintains an office for practice of law at 401 Congress Avenue, Suite

2700, Austin, TX 78701, telephone (512) 480-5626, fax (512) 536-9926.

           7.   Attached hereto as Exhibit “D” is a list of other Chapter 7 cases in which Brian

T. Cumings and GDHM have represented and represent Ron Satija in his capacity as Chapter 7

trustee.




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        WHEREFORE PREMISES CONSIDERED, Ron Satija, Chapter 7 Trustee, prays that he

be authorized to retain Graves Dougherty Hearon & Moody PC, as his attorneys, and for other

just relief.

                                          Respectfully submitted,

                                          By:/s/ Ron Satija
                                                 Ron Satija, Chapter 7 Trustee

                                          GRAVES, DOUGHERTY, HEARON & MOODY, P.C.
                                          401 Congress Avenue, Suite 2700
                                          Austin, TX 78701
                                          Telephone: 512.480.5626
                                          Facsimile: 512.536.9926
                                          bcumings@gdhm.com

                                          By:/s/ Brian T. Cumings
                                                  Brian T. Cumings

                                          PROPOSED COUNSEL FOR RON SATIJA,
                                          CHAPTER 7 TRUSTEE




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 9th day of May, 2019, I electronically filed this
Application with the Clerk of Court using the CM/ECF system which will send notification of
such filing to those receiving electronic service, or service was made by U.S. First Class Mail as
reflected below and on those not receiving electronic notice. A Notice of Employment is being
mailed within two business days by U.S. First Class Mail to those listed on the current creditors
matrix attached hereto and those below, if indicated by mail.

United States Trustee - AU12                        Maureen Adair
United States Trustee                               2524 Spring Lane
903 San Jacinto Blvd., Suite 230                    Austin, TX 78703
Austin, TX 78701-2450                               Debtor

Ron Satija                                          Stephen Sather
Chapter 7 Trustee                                   Barron & Newburger, PC
P.O. Box 660208                                     7320 N MoPac Expy, Suite 400
Austin, TX 78766-7208                               Austin, TX 78731
Chapter 7 Trustee                                   Debtor’s Counsel

                                             By:/s/ Brian T. Cumings
                                                Brian T. Cumings




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